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CIVIL COVER SHEET (JS-44)


UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA




CIVIL COVER SHEET

(This JS-44 civil cover sheet and the information contained herein neither replace nor

supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court.)




                                                          Case: 1:25−cv−01707
I. (a) PLAINTIFF(S):                                      Assigned To : Unassigned
                                                          Assign. Date : 5/30/2025
                                                          Description: FOIA/Privacy Act (I−DECK)
Name: Joseph Reyna

Address: 28251 Boerne Stage Road, Boerne, TX 78006

Email: whitehat@joecattt.com

Phone: (956) 202-5580


(b) DEFENDANT(S):

U.S. Agency for Global Media (USAGM)

Address: 330 Independence Avenue SW, Washington, DC 20237


(c) County of Residence of First Listed Plaintiff: Kendall County, Texas

(d) County of Residence of First Listed Defendant: District of Columbia

(e) Attorneys (Firm Name, Address, Telephone Number):

Pro Se Plaintiff
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only):


[ ] 1 U.S. Government Plaintiff

[X] 2 U.S. Government Defendant

[ ] 3 Federal Question (U.S. Government Not a Party)

[ ] 4 Diversity (Indicate Citizenship of Parties in Item III)




III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only):


[ ] Not Applicable




IV. NATURE OF SUIT (Place an “X” in One Box Only):


[ ] Administrative Procedure Act/Review or Appeal of Agency Decision

[X] 895 Freedom of Information Act




V. ORIGIN (Place an “X” in One Box Only):


[X] 1 Original Proceeding

[ ] 2 Removed from State Court

[ ] 3 Remanded from Appellate Court
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[ ] 4 Reinstated or Reopened

[ ] 5 Transferred from Another District (specify)

[ ] 6 Multidistrict Litigation – Transfer

[ ] 8 Multidistrict Litigation – Direct File




VI. CAUSE OF ACTION:


Brief description of cause:

Freedom of Information Act, 5 U.S.C. § 552 – Complaint for wrongful denial of expedited

processing and unlawful withholding of public records.




VII. REQUESTED IN COMPLAINT:


[ ] CHECK IF THIS IS A CLASS ACTION UNDER RULE 23, F.R.Cv.P.

[X] DEMAND: Expedited Disclosure + Records

[ ] CHECK YES ONLY IF DEMANDED IN COMPLAINT:

Jury Demand: [ ] Yes [X] No




VIII. RELATED CASE(S) IF ANY (See instructions):


None known at this time.
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Date: May 26, 2025

Signature of Attorney of Record (Pro Se):

/s/ Joseph Reyna
                                                   Verified by pdfFiller
                                                   05/30/2025




Joseph Reyna
